Case 1:02-cr-00036-IMK Document 567 Filed 11/05/09 Page 1 of 9 PageID #: 1828
Case 1:02-cr-00036-IMK Document 567 Filed 11/05/09 Page 2 of 9 PageID #: 1829
Case 1:02-cr-00036-IMK Document 567 Filed 11/05/09 Page 3 of 9 PageID #: 1830
Case 1:02-cr-00036-IMK Document 567 Filed 11/05/09 Page 4 of 9 PageID #: 1831
Case 1:02-cr-00036-IMK Document 567 Filed 11/05/09 Page 5 of 9 PageID #: 1832
Case 1:02-cr-00036-IMK Document 567 Filed 11/05/09 Page 6 of 9 PageID #: 1833
Case 1:02-cr-00036-IMK Document 567 Filed 11/05/09 Page 7 of 9 PageID #: 1834
Case 1:02-cr-00036-IMK Document 567 Filed 11/05/09 Page 8 of 9 PageID #: 1835
Case 1:02-cr-00036-IMK Document 567 Filed 11/05/09 Page 9 of 9 PageID #: 1836
